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                                                                                 U.S. Ill STRICT COURT
                                                                             NORTHERN DISTRICT or Tl ::,\'

                       IN THE UNITED STATES DISTRIC                       COU!ff--::__F~JL~E~~D:::_~
                            NORTHERN DISTRICT OF TE                      S
                                FORT WORTH DIVISION                                 NOV 3 0 201B
AMANDA R. ABBOOD,                                   §
                                                    §                        CLERK, U.S. DISTRICT COUlff
               Plaintiff,                           §                           B~~~~~~~~
                                                                                         Jcputy
                                                    §
vs.                                                 §    NO. 4:17-CV-909-A
                                                    §
TEXAS HEALTH AND HUMAN SERVICES                     §
COMMISSION,                                         §
                                                    §
               Defendant.                           §


                             MEMORANDUM OPINION AND ORDER

        Came on for consideration the motion of defendant, Texas

Health and Human Services Commission, for summary judgment. The

court, having considered the motion, the response of plaintiff,

Amanda R Abbood, the reply, the record, and applicable

authorities, finds that the motion should be granted.

                                                   I.

                                     Plaintiff's Claims

        The operative pleading is plaintiff's third amended original

complaint filed November 2, 2018. Doc. 1 43. In it, plaintiff

asserts claims under Title VII of the Civil Rights Act of 1964,

42    u.s.c.   §§    2000e to 2000e-17,             ("Title VII") for sexual

discrimination, hostile work environment, and retaliation. In

sum, plaintiff alleges that she was sexually harassed by another

employee and that when she reported his actions and pursued the



        'The "Doc.   " reference is to the number of the item on the docket in this action.
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matter with the EEOC, defendant retaliated against her by firing

her. Plaintiff says that the reason given by defendant for her

termination was pretext for discrimination.

                                    II.

                         Grounds of the Motion

        Defendant maintains that plaintiff cannot establish that she

was discriminated against based on her sex or subjected to a

hostile work environment. Nor can she establish that defendant

retaliated against her for engaging in protected activity.

                                   III.

                Applicable Summary Judgment Principles

        Rule 56(a) of the Federal Rules of Civil Procedure provides

that the court shall grant summary judgment on a claim or defense

if there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.           Fed. R. Civ.

P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247

(1986).     The movant bears the initial burden of pointing out to

the court that there is no genuine dispute as to any material

fact.     Celotex Corp. v. Catrett, 477 U.S. 317, 323, 325 (1986).

The movant can discharge this burden by pointing out the absence

of evidence supporting one or more essential elements of the

nonmoving party's claim,    "since a complete failure of proof




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concerning an essential element of the nonmoving party's case

necessarily renders all other facts immaterial."                                   Id. at 323.

Once the movant has carried its burden under Rule 56(a), the

nonmoving party must identify evidence in the record that creates

a genuine dispute as to each of the challenged elements of its

case.       Id. at 324; see also Fed. R. Civ. P. 56(c)                              ("A party

asserting that a fact                          is genuinely disputed must support

the assertion by                          citing to particular parts of materials in

the record                   • fl )   •   If the evidence identified could not lead

a rational trier of fact to find in favor of the nonmoving party

as to each essential element of the nonmoving party's case, there

is no genuine dispute for trial and summary judgment is

appropriate.           Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587, 597 (1986).                       In Mississippi Prat. & Advocacy

Sys., Inc. v. Cotten, the Fifth Circuit explained:

        Where the record, including affidavits,
        interrogatories, admissions, and depositions could not,
        as a whole, lead a rational trier of fact to find for
        the nonmoving party, there is no issue for trial.

929 F.2d 1054, 1058 (5th Cir. 1991).

        The standard for granting a motion for summary judgment is

the same as the standard for rendering judgment as a matter of

law.'     Celotex Corp., 477 U.S. at 323.                        If the record taken as a


        'In Boeing Co. v. Shipman, 411 F.2d 365, 374-75 (5th Cir. 1969) (en bane), the Fifth Circuit
                                                                                            (continued ... )

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whole could not lead a rational trier of fact to find for the

non-moving party, there is no genuine issue for trial.

Matsushita, 475 U.S. at 597; see also Mississippi Prot. &

Advocacy Sys., 929 F.2d at 1058.

                                                   IV.

                                        Undisputed Facts

        The summary judgment evidence' establishes:

        Plaintiff began her employment with defendant in 2014 as a

"Texas Works Advisor I," whose primary job duty was to accurately

determine client eligibility for various Medicaid programs. Doc.

46 at 2; Doc. 40 at 51. In connection with her employment,

plaintiff signed a computer use agreement, recognizing that in

the course of her employment she would have access to

confidential information (including phone numbers) and

specifically agreeing that as a condition to her access to

confidential information she would "use confidential information

only as needed to perform legitimate duties." Doc. 40 at 52. The

computer use agreement concluded with the statement:




        2
          ( ... continued)

explained the standard to be applied in determining whether the comt should enter judgment on motions
for directed verdict or for judgment notwithstanding the verdict.
        3
         The comt notes that each party has objected to portions of the summary judgment evidence
submitted by the other. As is its practice, the court is not striking any summary judgment evidence, but
rather giving the evidence whatever weight it may deserve.

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        I understand that my failure to comply with this
        Agreement may result in loss of access privileges to
        HHS applications; disciplinary action, up to and
        including dismissal; and person legal liability.

Id. In addition, plaintiff signed a Data Broker' Computer

Security Agreement, providing in part that "information obtained

from the system shall be used only for official state-approved

business." Id. at 54. Further, the agreement provided,

        I understand that inappropriate use of Data Broker
        information is a work rule violation and will result in
        disciplinary action up to and including dismissal,
        exercise of remedies for breach of contract, and/or
        termination of contract.



        In August 2016, plaintiff and another woman reported to

their supervisor that they were being sexually harassed by Matt

Otts ("Otts"), another employee. Doc. 40 at 64, 72-73, 74-75.

Otts was counseled, reassigned to another unit, and his office

was moved to the opposite side of the building. Id. at 31-32, 65.

Otts was out on medical leave for a significant amount of time.

Id. at 32, 65. Plaintiff next complained about Otts' behavior in

December 2016.           Id. at 28,        65, 76. Otts was removed from the

building, placed on emergency leave, and the locks to the main




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          The "Data Broker" system enabled employees to look up more specific information about
clients. Doc. 40 at 17. Plaintiff understood that she could not access defendant's systems, including Data
Broker, for personal use. Id. at 2 I.

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door were changed. Id. at 65, 87. Otts was terminated. Id. at 65,

88-93.

        On December 15, 2016, Robin Weger reported that plaintiff

had used the Data Broker system to look for the owner of a dog

she found tied up outside at a grocery store during her lunch

break. Doc. 40 at 58, 65. Plaintiff freely admitted that she had

used the system for that purpose and that she would do so again

in that situation. Id. at 28, 58, 65. Plaintiff's supervisor

reported the incident and it was determined that plaintiff would

be terminated. Id. at 66. Plaintiff was given notice and an

opportunity to respond, which she did. Id.; Doc. 46 at 157-58.

Plaintiff's responses, both dated January 5, 2017, argued that

what she had done       (using the Data Broker system for personal

research) was not as serious as what Ott had done (in sexually

harassing plaintiff) and what others had done (in committing

fraud). Id. at 157-58.        Plaintiff was terminated effective

January 11, 2017. Doc. 40 at 66.

        At least two employees prior to plaintiff who accessed the

Data Broker system for non-business purposes were terminated.

Doc. 40 at 69. There is no evidence that anyone who used the Data

Broker system for personal purposes was not fired. See Doc. 46 at

63    (it was a "known thing that if you did something with Data

Broker, a violation, that you would normally get terminated").


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                                    v.

                                 Analysis

      To establish a prima facie claim for discrimination under

Title VII plaintiff must show that:         (1)   she is a member of a

protected group;   (2) she was qualified for the position at issue;

(3)   she suffered an adverse employment action by her employer;

and (4) she was replaced by someone outside the protected group

or was treated less favorably than other similarly situated

employees. McCoy v. City of Shreveport, 492 F.3d 551, 556 (5th

Cir. 2007). To prove gender discrimination on the basis of

disparate discipline, as here, plaintiff must show that the

actions taken against her and the comparator employee were under

nearly identical circumstances. Wyyill v. United Cos. Life Ins.

Co., 212 F.3d 296, 304 (5th Cir. 2000). That is, she must show

that the misconduct for which she was discharged was nearly

identical to that engaged in by Otts, who was retained. Smith v.

Wal-Mart Stores (No. 471), 891 F.2d 1177, 1180           (5th Cir. 1990).

      Although plaintiff makes a good argument that the conduct

engaged in by Otts was far more despicable, the fact is that the

conduct was of a wholly different sort. Otts engaged in sexual

harassment, whereas plaintiff misused her work-assigned computer

for personal purposes. Plaintiff cannot point to any other person

who did what she did and was not terminated. The evidence is to


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the contrary. Doc. 40 at 68-69. Because plaintiff cannot prove

the fourth element, she cannot prevail on this claim.

     To prove her claim for hostile work environment, plaintiff

must show:   (1) plaintiff belongs to a protected group;          (2) she

was subjected to unwelcome harassment;       (3) the harassment was

based on her protected status;      (4) the harassment affected a

term, condition, or privilege of employment; and,           (5) defendant

knew or should have known about the harassment and failed to take

prompt remedial action. Ramsey v. Henderson, 286 F.3d 264, 268

(5th Cir. 2002). To be actionable, the harassment must be both

objectively and subjectively offensive. Harvill v. Westward

Communications, L.L.C., 433 F.3d 428, 434           (5th Cir. 2005). It

must be sufficiently severe or pervasive to alter the conditions

of plaintiff's employment and create an abusive work environment.

Harris v. Forklift Systems, Inc.,       510 U.S. 17, 21 (1993). Factors

considered include the frequency of the conduct, its severity,

whether the conduct was physically threatening or humiliating or

a mere offensive utterance, and whether it unreasonably

interfered with the employee's work performance. Faragher v. City

of Boca Raton, 524 U.S. 775, 787-88       (1998). The Supreme Court has

"made it clear that conduct must be extreme to amount to a change

in the terms and conditions of employment." Id. at 788.




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     Here, defendant maintains that plaintiff cannot establish

the fourth or fifth elements of her claim. Defendant notes that

the alleged harasser was not a supervisor, but merely a coworker.

This matters because where the alleged harasser is a supervisor,

the plaintiff need only establish the first four elements in

making a prima facie case. Matherne v. Ruba Mgmt., 624 F. App'x

835, 839 (5th Cir. 2015). Stated another way, an employer may be

held vicariously liable for an employee's unlawful harassment

only when the employer has empowered that employee to take

tangible employment actions against the victim, i.e., to effect a

significant change in employment status, such as hiring, firing,

failing to promote, reassigning with significantly different

responsibilities, or making a decision causing a significant

change in benefits. Vance v. Ball State Univ., 570 U.S. 421, 431

(2013).

     In this case, plaintiff pleaded that the harasser, Otts,            •in

relation to Plaintiff, was in a supervisory position.• Doc. 43,

, 10. However, the summary judgment evidence, including

plaintiff's own testimony, establishes that Otts was not

plaintiff's supervisor. See, e.g., Doc. 40 at 36, 65; Doc. 46 at

3 (plaintiff says she and Otts had similar job duties and were

under supervision of the same supervisor). See also Doc. 45 at




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22-23     (twice stating that Otts and plaintiff were similarly

situated) .

        More importantly, the summary judgment evidence establishes

that this is not the type of case where it could be said that the

alleged harassment was so severe or pervasive as to alter a

condition of plaintiff's employment.' See, e.g., E.E.0.C. v. Boh

Bros. Constr. Co., L.L.C., 731 F.3d 444                           (5th Cir. 2013); E.E.O.C.

v. WC&M Enters., Inc., 496 F.3d 393 (5th Cir. 2007). Although

plaintiff generally avers that she was sexually harassed

constantly and in many ways, her affidavit is conclusory and does

not provide sufficient facts to raise a genuine issue in this

regard. In her deposition, plaintiff admitted that Otts never

touched her in a way that was unwelcoming, propositioned her or

asked for sex. He never exposed himself, sent or requested

photographs, or sent any written communications to plaintiff.

Doc. 40 at 36. Rather, Otts made comments about how flattering

plaintiff's clothes were on her body. Id. at 33. One time when

plaintiff put lotion on her hands, Otts told her she was getting

him going, indicating that he was getting an erection. Id. at 34.

He told plaintiff about his sex life and marital problems. Id.

Plaintiff surmised that she was not as forceful as she should



        'Thus, the court need not reach the fifth element in any event. (The record does reflect that
defendant took prompt remedial action following her initial complaint, even though plaintiff contends it
was not sufficient. And, Otts was fired after the December complaints.)

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have been in telling him to stop, because "[h]e always thought

everything was a big joke." Id. at 34. Plaintiff reported Otts

for sexual harassment in August' and December' of 2016.                                        Id. at

28-29. Plaintiff did her work properly and competently and there

was never a time when she did not get her work assignments done.

Doc. 46 at 3-4. In sum, plaintiff has not shown that she was

subjected to a hostile work environment.

        To state a claim for retaliation under Title VII, plaintiff

must allege that she participated in an activity protected by

Title VII, her employer took an adverse employment action against

her, and a causal connection exists between the protected

activity and the adverse employment action. McCoy, 492 F.3d at

557. "Protected activity" means any practice rendered unlawful by

Title VII, including making a charge, testifying, assisting, or

participating in any investigation, hearing or proceeding under

Title VII. Lopez v. Kempthorne, 684 F. Supp. 2d 827, 862                                          (S.D.

Tex. 2010). For there to be a causal connection, the employer

must know about the employee's protected activity. Manning v.


          'Plaintiff testified that she was afraid to repmt Otts by herself, so she found a coworker who had
also been harassed and she and the coworker each made an initial repmt to their supervisor. Doc. 40 at
30-31. Between August and December, Otts was moved to the other side of the building. Id. at 31-32.
After that, Otts went on medical leave for a month or so. Id. at 35. Then, he slowly made his way back
over to plaintiffs side of the building "to seemingly find pointless things to do in order to talk to us." Id.
at 32. It was "an uncomfo1table situation." Id. at 35.

        'On December 15, 2016, plaintiff and the same coworker repmted that on December 14, Otts had
told each of them how nice she looked and that he wanted to "jump [plaintiffs] bones." Doc. 40 at 76,
77. Otts was terminated. Id. at 65.

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Chevron Chem. Co., LLC, 332 F.3d 874, 883                                 (5th Cir. 2003).

Temporal proximity between the protected activity and the adverse

employment action, by itself,                       is insufficient to create a genuine

issue of material fact as to causation. Lopez, 684 F. Supp. 2d at

863     (citing cases) . Once an employer offers a legitimate,

nondiscriminatory reason that explains both the adverse action

and the timing, plaintiff must offer some evidence from which to

infer that retaliation was the real motive. McCoy v. City of

Shreveport, 492 F.3d 551, 562 (5th Cir. 2007).

         In this case, plaintiff says that she was fired in

retaliation for taking her complaint about Otts to the EEOC.' The

summary judgment evidence establishes that in August 2016,

plaintiff made known to defendant that she was considering filing

a complaint about Otts with the EEOC. Doc. 46 at 156. And, on

December 20, 2016, she asked for the next day off to meet her

attorney to file a formal complaint with the EEOC. Doc. 40 at 60.

On January 11, 2017, plaintiff was notified that her employment

was immediately terminated. Doc. 40 at 66. As for the causal

connection between the protected activity and the termination,



         'Plaintiffs complaint also referred to her having reported cases of fraud over a period of time as
a reason for her termination. Doc. 43, if 14. And, she testified that she thought that was a reason she was
fired. Doc. 40 at 29. Plaintiffs response appears to recognize that such reporting would not suppmt a
retaliation claim, Doc. 45 at 16, as does at least one of the cases plaintiff cites, id. at 18 (citing E.E.O.C.
v. Rite Way Serv., Inc., 819 F.3d 235, 242 (5th Cir. 2016)(noting that even the EEOC would not argue
that reporting accounting fraud could give rise to a retaliation claim). Plaintiff did not assert any kind of
whistleblower claim in this action.

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plaintiff's only argument and evidence is that she "had not done

anything at work which justified firing." Doc. 45 at 51. The

overwhelming summary judgment evidence is to the contrary. As

plaintiff admitted, she had used her work computer and the Data

Broker system for personal purposes. The agreements she signed

clearly gave notice, which plaintiff understood, that neither her

computer nor the system was to be used for other than work-

related purposes. No other person who did what plaintiff did

remained employed by defendant. That plaintiff sincerely believed

that her actions merited a lesser sanction, e.g., Doc. 46 at 157-

58, does not create a fact issue for trial.

     Even assuming plaintiff had made a Prima facie showing of

retaliation, defendant has come forward with a legitimate, non-

retaliatory reason for her termination. To show that defendant's

reason was actually a pretext for discrimination, plaintiff must

show that she would not have been terminated "but for" the

retaliatory reason. Univ. of Tex. Sw. Med. Ctr., 570 U.S. 338,

360 (2013). For the reasons discussed, plaintiff has not, and

cannot, make that showing.

                                   VI.

                                 Order

     The court ORDERS that defendant's motion for summary

judgment be, and is hereby, granted; that plaintiff take nothing


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on her claims against defendant; and that plaintiff's claims be,

and are hereby, dismissed with prejudice.
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     SIGNED November 30, 2018.                I




                                                       1#711/
                                                       District J




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